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                       UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW HAMPSHIRE



United States of America

             v.                                 Case No. 06-cr-19-01, 02-SM

Starr Parrish, et al



                                       ORDER



       Defendant's assented-to motion to continue the trial (document no. 23) is granted.

Trial has been rescheduled for the May 2006 trial period. Defendant shall file a Waiver of

Speedy Trial Rights not later than March 7, 2005. On the filing of such waiver, his

continuance shall be effective.

       The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary
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for effective preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: April 20, 2006 at 9:30 AM

      Jury Selection:           May 2, 2006 at 9:30 AM

      SO ORDERED.



March 2, 2006                         _________________________
                                      Steven J. McAuliffe
                                      Chief Judge

cc: Donald Feith, Esq.
    Donald Kennedy, Esq.
    Jeffrey Levin, Esq.
    U. S. Probation
    U. S. Marshal




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